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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  JAY LYNN,                                           )
  SANDRA LYNN,                                        )
  JSL PROPERTIES, INC.,                               )
  MAKAMAE CORP.,                                      )
  ABIGAIL PAIGE LYNN TRUST,                           )
  I AM MY BROTHER’S KEEPER                            )
  FOUNDATION (IAMBKF)                                 )
  INCORPORATED,                                       )
                                                      )        No. 1:13-mc-00132-WTL-MJD
                               Petitioners,           )
                                                      )
                        vs.                           )
                                                      )
  UNITED STATES OF AMERICA,                           )
                                                      )
                               Respondent.            )



                 ORDER ADOPTING REPORT AND RECOMMENDATION

         The Magistrate Judge submitted his Report and Recommendation on Respondent’s

 Motion to Dismiss All Petitions to Quash IRS Summonses [Dkt. 10.] The parties were afforded

 due opportunity pursuant to statute and the rules of this Court to file objections; none were filed.

 The Court, having considered the Magistrate Judge’s Report and Recommendation, hereby

 adopts the Magistrate Judge’s Report and Recommendation. Accordingly, Respondent’s Motion

 to Dismiss [Dkt. 5] is granted, discussing all three of Petitioners’ petitions to quash [Dkts. 1, 2,

 and 3] in their entirety.


       04/29/2014
 Date: _____________
                                                          _______________________________
                                                          Hon. William T. Lawrence, Judge
                                                          United States District Court
 Distribution:                                            Southern District of Indiana
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